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AO 245D      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1
                                                                                                                            FILED
                                                                                                                         U.S. DISTRICT C~~~
                                                                                                                  645 I 21(]4 DIS I 1\18 I A   I SAS


                                      UNITED STATES DISTRICT COURT                                                       MAR 16 2015
                                                   EASTERN DISTRICT OF ARKANSA                   JAMES W.            LERK
                                                                                                 By:, _ _+--A--1+1--+-1---
          UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                             v.                                          (For Revocation of Probation or Supervised Release)
          TORRENCE DEMETRICE DAVIS

                                                                         CaseNo. 4:11cr00211-06
                                                                         USM No. 26584-009
                                                                          Nicole Lybrand
                                                                                                   Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           Standard, General, Special       of the term of supervision.
D was found in violation of condition(s)               - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                            Nature of Violation                                   Violation Ended
Standard (2)                      Failure to report submit truthful and complete written report                09/05/2014

Standard (3)                      Failure to follow instructions of the probation officer                      10/10/2014

Standard (5)                      Failure to work regularly at a lawful occupation                             07/18/2014

Standard (6)                      Failure to notify probation prior to change of residence                     11/13/2014
       The defendant is sentenced as provided in pages 2 through ----'5'---_of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
econonuc cucumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5246                       03/12/2015

Defendant's Year of Birth:           1992

City and State of Defendant's Residence:                                                            Signature of Judge
Unknown
                                                                          JAMES M. MOODY JR.                             U.S. District Judge
                                                                                                  Name and Title of Judge

                                                                                          3 J 1i1 { 15
                                                                                              f            Date
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AO 2450       (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet IA

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DEFENDANT: TORRENCE DEMETRICE DAVIS
CASE NUMBER: 4: 11 cr00211-06

                                                         ADDITIONAL VIOLATIONS

                                                                                                                   Violation
Violation Number                  Nature of Violation                                                              Concluded
General                            Failure to refrain from possession and unlawful use of controlled substance     11/13/2014

Standard (7)                      Failure to refrain from excessive use of alcohol & use of controlled substance   11/13/5014

Special (2)                        Failure to attend substance abuse treatment program                             10/10/2014

General                           Violation of federal, state, or local crime                                      11/13/2014
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  AO 2450       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Impnsonment

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  DEFENDANT: TORRENCE DEMETRICE DAVIS
  CASE NUMBER: 4:11 cr00211-06


                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
Not more than FOURTEEN (14) DAYS from today's date or until a bed is available at an impatient drug treatment facility




     D The court makes the following recommendations to the Bureau of Prisons:




     ~ The defendant is remanded to the custody of the United States Marshal.

     D      The defendant shall surrender to the United States Marshal for this district:
            D    at  - - - - - - - - - D a.m.                        D     p.m.    on
            D    as notified by the United States Marshal.

     D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D    before 2 p.m. on
            D    as notified by the United States Marshal.
            D    as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                         to

  at - - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                                  By
                                                                                                DEPUTY UNITED STATES MARSHAL
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 AO 2450      (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release

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 DEFENDANT: TORRENCE DEMETRICE DAVIS
 CASE NUMBER: 4:11cr00211-06
                                                              SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of :
THREE (3) YEARS



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
 from the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ano at least two periodic drug
 tests thereafter as determined by the court.
 D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 rt/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
 'if The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notification requirement.
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            Sheet 3C - Supervised Release

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                                             SPECIAL CONDITIONS OF SUPERVISION

1) The defendant must participate in and successfully complete an in-patient substance abuse treatment program under
the direction of the United States Probation Office for a period of 30 days. Upon successful completion of the in-patient
substance abuse treatment program, defendant is required to enter a chemical-free living program for a period of 6
months.

2) All general and standard conditions previously imposed shall remain in full force and effect.
